                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 THE ESTATE OF NAJEE ALI BAKER,
 by and through his Ancillary
 Administrator, Jemel Ali Dixon;

              Plaintiff,
 v.                                                    Civil Action No. 1:19-cv-00477

 WAKE FOREST UNIVERSITY, a North
 Carolina non-profit corporation and
 institution of higher education; THE PI
 OMICRON CHAPTER OF DELTA
 SIGMA THETA SORORITY, INC., a
 North Carolina unincorporated
 association; RHINO SPORTS &
 ENTERTAINMENT SERVICES, LLC, a
 North Carolina Limited Liability
 Corporation; JOHN DOE OFFICER OF
 THE WAKE FOREST UNVIERSITY
 POLICE DEPARTMENT, individually
 and as an agent of Wake Forest
 University; JOHN DOE SECURITY
 STAFF OF THE WAKE FOREST
 UNIVERSITY POLICE DEPARTMENT,
 individually and as an agent of Wake
 Forest University; JOHN DOE RHINO
 SECURITY STAFF 1–2, individually and
 as agents and employees of Rhino Sports
 & Entertainment Services, LLC;

              Defendants.

                           COMPLAINT AND JURY DEMAND

      Plaintiff Jemel Ali Dixon, as Ancillary Administrator of the Estate of Najee Ali

Baker, for her Complaint against Defendants states as follows:




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                                   INTRODUCTION

      1.     In the early morning hours of January 20, 2018, Najee Ali Baker (“Najee”),

a student and football player at Winston-Salem State University (“WSSU”), was gunned

down and bled to death on the campus of Wake Forest University (“Wake Forest,”

“WFU,” or the “University”). Najee was attending a large party hosted by the Pi

Omicron Chapter of the Delta Sigma Theta Sorority, Inc. (“Pi Omicron” or the

“Chapter”) at The Barn, an event venue owned and operated by Wake Forest, and located

on the Wake Forest campus.

      2.     The Barn had a history of dangerous incidents and altercations requiring

intervention by the Wake Forest University Police Department (“WFUPD”) and the

Winston-Salem Police Department (“WSPD”). As a result, events at The Barn were

historically overseen and monitored by up to nine trained law enforcement officers from

the WFUPD and WSPD, as well as additional personnel from a private event

management and security firm. WFU also required guests to pass through several distinct

security checkpoints before they could enter the venue.

      3.     In late 2014 and early 2015, WFU proposed new event management

guidelines that would save the University money by sharply cutting law enforcement

staffing and other security measures at The Barn. Police and professional security

consultants openly warned against the proposed security cutbacks. One WFUPD officer

publicly stated that a substantial police presence at The Barn was warranted given past




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dangerous incidents, including one melee involving six fights that required the already

substantial police presence at the Barn to call for back up.

       4.     Despite such objections and warnings, the new guidelines were

implemented. Events at The Barn that had been regularly staffed by up to nine trained

law enforcement officers, now had only one uniformed, trained WFUPD officer present

to secure crowds of several hundred attendees.

       5.     As foreseen, the slash in security had tragic consequences for Najee when

he attended the January 19-20, 2018 party sponsored by Pi Omicron.

       6.     Due to the new lax security, countless people who were neither students at

WFU, WSSU, nor any other institution of higher education in the area, wrongly gained

entry to WFU’s campus and the party at The Barn.

       7.     Two such individuals – Jakier Shanique Austin, then 21 years old, and

Malik Patience Smith, then 16 years old – along with a third underage companion, started

a fight with Najee on the dance floor inside The Barn that quickly spread and escalated.

Austin, Smith, and their companion had gained entry to The Barn without valid student

IDs, simply by walking up and buying tickets at the door. Austin and Smith had brought

firearms with them in their car, which they drove and parked on the Wake Forest campus.

The fight and commotion they started was widespread and dangerous. There were not

enough adequately trained law enforcement or security personnel to safely and

reasonably control Austin, Smith, or the situation, or to safely disperse attendees.




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       8.     The law enforcement and security personnel present failed, inter alia, to

detain Austin or Smith, escort them from The Barn and away from the area, secure and

control The Barn and the single roadway leading from The Barn to WFU’s nearby

parking lots, or otherwise reasonably protect the other attendees, including Najee – who

had been threatened and assaulted by Austin and Smith. Austin and Smith went directly

to their car in the parking lot and retrieved their guns.

       9.     Najee and others left The Barn and headed down the only road from The

Barn to the parking lots where their cars were parked. Smith and Austin, with weapons

drawn, confronted Najee and another student as they were walking down the road.

       10.    Smith aimed his gun at the other student. Austin aimed his gun at Najee

and shot him in the abdomen. Najee fell to the ground, bleeding profusely and in obvious

pain and suffering. The two gunmen fled the scene without any interference by security.

Najee slowly bled out and died in the arms of a female WSSU student who bravely, and

instinctively, came to his aid.

       11.    Najee’s Estate, through this action, seeks to hold the Defendants

responsible for their grossly negligent and negligent acts and omissions that led to

Najee’s brutal death.

                                          PARTIES

       12.    Plaintiff Jemel Ali Dixon is the mother of Najee Ali Baker, and the duly

appointed Ancillary Administrator of the Estate of Najee Ali Baker. The Ancillary Estate

file in Forsyth County has a file number of 19 E 889. At all relevant times hereto, Najee



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was a student at Winston-Salem State University in Forsyth County, North Carolina, and

a citizen and resident of Kings County, New York. Plaintiff is a citizen and resident of

Kings County, New York.

       13.    Defendant Wake Forest University is a non-profit corporation and an

institution of higher education organized and existing under the laws of the State of North

Carolina, located and operating in Forsyth County, North Carolina, and with its principal

office at 1834 Wake Forest Road, Winston-Salem, NC 27109-6000.

       14.    Defendant Pi Omicron Chapter of Delta Sigma Theta Sorority is a North

Carolina unincorporated association that is chartered, governed, managed, and controlled

by the policies, charter, and recognition of Delta Sigma Theta Sorority, Inc. and WFU. Pi

Omicron maintains its principal place of business in Winston-Salem, Forsyth County,

North Carolina.

       15.    Defendant Rhino Sports & Entertainment Services, LLC (“Rhino” or

“Rhino Sports”) is a limited liability company organized under the laws of North

Carolina, and maintains its principal place of business at 926 Brookstown Avenue,

Winston-Salem, Forsyth County, North Carolina 27101. Upon information and belief,

Rhino is a single member limited liability company, and its single member is a resident

and citizen of North Carolina.

       16.    Upon information and belief, Defendant John Doe Officer of the Wake

Forest University Police Department was, at all relevant times, an employee of WFU, and

is a resident and citizen of North Carolina.



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       17.    Upon information and belief, Defendant John Doe Security Staff of the

Wake Forest University Police Department was, at all relevant times, an employee of

WFU, and is a resident and citizen of North Carolina.

       18.    Upon information and belief, Defendants John Doe Rhino Security Staff 1–

2 were, at all relevant times, employees of Rhino Sports, and are residents and citizens of

North Carolina.

       19.    The names and addresses of Defendant John Doe Officer of the Wake

Forest University Police Department, Defendant John Doe Security Staff of the Wake

Forest University Police Department, and Defendants John Doe Rhino Security Staff 1–2

are unknown and, despite a good faith effort by Plaintiff and her counsel, their names and

addresses could not be ascertained prior to the preparation and filing of this Complaint.

Upon information and belief, the names and addresses of these John Doe defendants is

known by and available to WFU and/or Rhino Sports, and Plaintiff will seek such

information from WFU and/or Rhino Sports through discovery in this case.

                              JURISDICTION AND VENUE

       20.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)

because the matter in controversy exceeds the sum or value of $75,000.00, exclusive of

interests and costs, and is between citizens of different States.

       21.    Venue is proper pursuant to § 1391(b)(2) because a substantial part of the

events or omissions giving rise to this action occurred in this judicial district.




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                               FACTUAL ALLEGATIONS

                                      Najee Ali Baker

       22.      Najee was born and raised in Brooklyn, New York, where he attended

Abraham Lincoln High School in Coney Island. Najee was the loving son of Jemel Ali

Dixon and Ronald Baker, and beloved older brother to two younger siblings.

       23.      Najee was a quiet young man known for his reserved demeanor, work ethic,

consistently positive attitude, and winning smile. Family members describe him as a

lovable soul.

       24.      At 6’1” and 240 pounds, Najee also was an imposing force on the football

field, his reserved demeanor notwithstanding. He was a valued member and leader of

Lincoln High School’s varsity football team for two years, winning back-to-back city

championships in 2013 and 2014. Najee’s high school football coach credits Najee’s

determination for helping to raise the football program to one of the premier programs in

New York City.

       25.      After Najee graduated from high school in 2015, he enrolled at Dean

College, an NCAA Division III school in Franklin, Massachusetts, where he played one

season on the college’s football team and earned his associate degree.

       26.      In March 2017, Najee transferred to Winston-Salem State University in

Winston-Salem, North Carolina.

       27.      In Fall 2017, Najee enrolled at WSSU. Najee redshirted the Rams’ 2017

season and planned, through hard work, to be a valuable contributor to the team’s



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defensive unit in the 2018 season—the first of three years he would have been eligible to

play football at WSSU.

       28.     At WSSU, Najee was pursuing a degree in physical education, with a minor

in sports medicine. His goal was to become a high school athletic director in a career

dedicated to working with and serving youth.

                       Student Events at Wake Forest University

       29.     Wake Forest is a private university located in Winston-Salem, North

Carolina, with an undergraduate student population of approximately 5,000.

       30.     Wake Forest maintains its own police department, the WFUPD, which is

“comprised of professional trained police officers [and] security officers” who patrol and

protect the Wake Forest campus and its students.

       31.     Because of its relatively small size, at all relevant times herein, Wake

Forest and its students frequently invited students from other local colleges and

universities, especially WSSU, to attend Wake Forest campus events.

       32.     According to Wake Forest’s President, Nathan O. Hatch, Wake Forest’s

“open campus contributes to a sense of shared community and vibrant social life,

particularly for [its] underrepresented students.” Wake Forest’s student population is

approximately 70% white. Black students make up only 6.6% of Wake Forest’s student

population.




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       33.    Wake Forest currently recognizes 243 different student organizations,

including 24 fraternities and sororities, many of which routinely host events on Wake

Forest’s campus.

       34.    Wake Forest publicly promotes the “many benefits” its “[c]hartered student

organizations (CSOs) receive,” including “free or reduced-cost room reservations on

campus; potential funding from Student Government; involvement in CSO programs like

the activities fair; and a free web portal.”

       35.    Student organizations and the events those organizations host and sponsor

are overseen by Wake Forest’s Office of Student Engagement, part of the University’s

Division of Campus Life.

       36.    The Office of Student Engagement maintains event-planning guidelines and

procedures for all student-sponsored events, including specific procedures for events at

which alcohol is available or events for more than 200 attendees, both of which must be

approved and registered in advance with the Office of Student Engagement.

       37.    Wake Forest’s guidelines and procedures dictate where student-sponsored

events may be held, when student-sponsored events must be registered, how long student-

sponsored events may last, when and how alcohol may be served, who may attend which

student-sponsored events, how events may be advertised or marketed, the training that

student hosts must complete before hosting events, and the responsibilities host

organizations have with regard to the events.




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       38.     A host organization’s responsibilities include, inter alia, to check the

identification of each guest, to monitor the size of the event, to prevent uninvited guests

from attending, to “[h]elp maintain order and ensure responsible behavior,” and to

“[c]onsult with the ‘on-duty’ residence life and housing staff, Event Resource Managers,

and University Police officials as necessary.”

       39.     As part of Wake Forest’s event guidelines and procedures, the Office of

Student Engagement has the authority to “determine that a sponsoring organization will

be required to hire security personnel to perform the [listed] responsibilities at social

functions.”

                      Campus Security at Wake Forest University

       40.     Wake Forest maintains stricter standards for public entry onto Wake

Forest’s campus at night than during normal business hours. Wake Forest University

Police security staff monitor and control all traffic entering the Wake Forest campus

between 10:00 p.m. and 6:00 a.m. Students and faculty are provided decals or tags for

their cars. With proper identification, members of the Wake Forest community pass

through campus entry checkpoints without being stopped.

       41.     According to Wake Forest policy, security staff are supposed to stop any

car entering the Wake Forest campus after 10:00 p.m. without such identification.

Drivers are asked for their name and destination in order to issue a short-term visitor

pass, if they qualify for one.




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       42.     For on-campus events with large numbers of off-campus guests, such as

student events held at The Barn, the event hosts are required to provide a list of registered

guests attending the event to the WFUPD in advance of the event to verify who may

legitimately enter the campus. In addition, one or more student representatives is

assigned to each gatehouse at a campus entrance, purportedly to assist, direct, monitor,

and vet guests seeking to enter campus to attend the event.

       43.     Wake Forest allows student groups to host events after 10:00 p.m. at on-

campus lounges, as well as at several on-campus large event spaces, including The Barn.

                                The Barn at Wake Forest

       44.     The Barn, completed in 2011, at all relevant times herein, was routinely

advertised by WFU as “a student-centered social space on the Reynolda campus of Wake

Forest University.” Until January 20, 2018, undergraduate student groups could reserve

The Barn for events, “such as receptions, dances, cookouts, parties, movie screenings and

concerts.”

       45.     There was “no cost to rent the Barn for undergraduate student groups

hosting a university-related student-centered social event.” However, under Wake

Forest’s policies, “[e]vents hosting over 200 people may be charged fees for security.”

       46.     The Barn has a maximum capacity of 570 people.

       47.     Because The Barn is a large-capacity venue, at all relevant times herein,

Wake Forest maintained guidelines specific to events held at The Barn.




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       48.     Under those guidelines, any student group planning an event at The Barn

was required to “participate in an event planning process with staff from the Office of

Student Engagement.”

       49.     In addition, “[a]ll student organizations hosting an event at The Barn must

attend Event Management Training (start of the semester).”

       50.     The Event Management Training Wake Forest provided to student

organizations was inadequate to properly prepare them for the increased event

management responsibilities Wake Forest assigned to students as a result of the new

event management guidelines it adopted in 2015, as alleged in further detail, infra.

       51.     Up until and including January 20, 2018, The Barn was often a location for

parties hosted by National Pan-Hellenic Council historically black fraternities and

sororities. Such parties were frequently attended by students from both Wake Forest and

WSSU.

               Changes to Wake Forest’s Event Management Guidelines

       52.     In January 2014, the Wake Forest chapter of Kappa Alpha Psi, a

historically black fraternity and member of the National Pan-Hellenic Council, hosted a

party on the Wake Forest campus. Wake Forest University Police shut down the party.

       53.     In response, Wake Forest students organized a town hall meeting in

February 2014 to express and discuss their frustrations about alleged racial bias in

campus policing.




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       54.     At the meeting, Wake Forest students accused Wake Forest University

Police of disproportionately policing minority-run student events. Students alleged that

black fraternity and sorority parties, in particular, were subject to higher scrutiny by

campus police than parties or events held by white fraternities and sororities. Minority

students also expressed anger and frustration that they were asked for identification or

given citations by campus police at much higher rates than white students.

       55.     Following the town hall, WFUPD’s Police Chief commissioned an

independent review of the alleged racial bias in on-campus policing. Wake Forest hired

Developmental Associates, a third-party consulting firm, to conduct the investigation and

review.

       56.     Developmental Associates’ investigation was led by two career law

enforcement officials: Willie Williams, a senior consultant at Developmental Associates

and a three-time police chief who had recently retired from the North Carolina Central

University, where he had served as Chief of Police since November 2006; and Thomas

M. Moss, a senior consultant at Developmental Associates, who had retired after a thirty-

three year career in North Carolina law enforcement, the last twenty of which he served

as Chief of Police in Garner, North Carolina, and who chaired the Education and Training

Committee of the North Carolina Criminal Justice Education and Training Standards

Commission and the Criminal Justice Improvement Committee of the Governor’s Crime

Commission for many years prior to his retirement.




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        57.     In April 2014, while the investigation was underway, Kappa Alpha Psi

hosted a party at The Barn with 650 attendees—80 more than the stated capacity at The

Barn.

        58.     A fight broke out at the event, and officers from the WFUPD and WSPD

shut down the party and arrested three WSSU students for their involvement in the fight.

        59.     In August 2014, Developmental Associates concluded its investigation and

review, and provided its final report, known as the “Williams-Moss Report” (or the

“Consultants’ Report”), to Wake Forest.

        60.     Although the Consultants’ Report found no evidence of actual or targeted

bias by WFUPD officers, Developmental Associates concluded that the pervasive

perception among students of such bias strained and damaged the student community’s

relationship with the Wake Forest campus police.

        61.     Among its findings, the Consultants’ Report substantiated students’

perception that events hosted by minority student groups were more heavily policed than

events hosted by predominantly white student organizations:

                As noted in the Consultants’ Report, disparate levels of
                supervision regarding campus lounges, which are utilized by
                mostly white fraternities and sororities, and large event venues,
                which are typically used by traditional minority fraternities and
                sororities have generated much discussion. The large event
                venues were heavily policed, while activities in campus
                lounges, many of which involved alcohol consumption, were
                not policed.

        62.     Shortly after the Consultants’ Report was released, WFU’s Vice President

for Campus Life, Dr. Penny Rue, welcomed students back to campus for the 2014–2015

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school year, reassuring the student community that “[c]onsistent with Wake Forest’s

commitment to creating a safe and inclusive environment, University Police, along with

the Office of Campus Life and Office of Diversity and Inclusion, spent the summer

reviewing concerns expressed by students related to perceived racial bias on campus and

event management practices at parties held in the Barn and Reynolds Gym.”

      63.     Dr. Rue told students that the Williams-Moss Report recommended that

Wake Forest “[i]mprove the cultural awareness and sensitivity of [the Wake Forest]

university police department and campus community,” “[i]ncrease the timeliness of

complaint investigations,” “[e]nhance University Police and Community Relations,” and

“evaluate risk management practices at [National Pan-Hellenic Council] events and

lounge parties.” Dr. Rue also described the steps that Wake Forest had already taken to

implement those recommendations.

      64.     According to Dr. Rue, “a social event management working group ha[d]

been active this summer developing a plan for evaluating risks associated with student

events where more than 200 people are expected to attend. This approach defines a

richer partnership between students and staff regarding event and risk management.”

      65.     Dr. Rue also explained that Wake Forest, in collaboration with the City of

Winston-Salem Human Relations Commission, planned to host a series of “Trust Talks”

based on programs used in other U.S. cities “that have been proven to be successful in

breaking down barriers and improving communication between the police and the

communities they serve.”



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       66.     On November 13, 2014, the City held the inaugural collegiate Trust Talk,

bringing together students and campus police representatives from several area schools,

as well as members of the WSPD and Forsyth County District Attorney’s Office.

       67.     During the November 2014 Trust Talk, Wake Forest students reiterated

their concerns and frustrations that minority-hosted student events at WFU were policed

more heavily than events sponsored by primarily white student groups.

       68.     Wake Forest students specifically stated concerns about policing of events

at The Barn hosted by Wake Forest’s black fraternities and sororities, expressing

frustration that campus police patrolled those events heavily, but rarely if ever policed

events hosted by white fraternities and sororities, which were primarily held in on-

campus lounges or at fraternity houses. Students believed that the security policies for

events held at The Barn were perpetuating the inequity.

       69.     In response to these comments, WFUPD Corporal James Gravely stated

that there had been incidents at The Barn that warranted a greater police presence.

       70.     Corporal Gravely recounted a time when six fights had broken out at The

Barn at one time. Corporal Gravely explained that during that incident, the three campus

police officers patrolling the event could not handle the situation alone, and required

assistance from three additional Winston-Salem police officers.

       71.     In December 2014, Dr. Rue created the Wake Forest University Police

Accountability Task Force, a group comprised of student, faculty, staff, and community




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law enforcement representatives tasked with overseeing the implementation of the

Consultants’ Report recommendations.

       72.     Among the enumerated recommendations, Developmental Consultants

recommended “updating the Large Social Event Management Guidelines and

reinstituting the Major Event Committee.”

       73.     The Consultants’ Report also recommended that “the administration review

[the] procedure [for student events held at on-campus lounges] to make sure that all

student events are policed in an equal manner.”

       74.     The Consultants’ Report further stated, with regard to WFU’s Large Social

Event Management Guidelines, that “[a]dults and police should play a major role in the

decision of assigning students to tasks that may be better managed by an adult,” thereby

making it clear that the authors of the Report – career law enforcement officials, one of

whom had extensive experience with college students as police chief at a university – did

not believe it was reasonable or responsible for WFU to treat college students as “adults”

capable of responsibly, safely, or adequately managing or policing their own large events.

       75.     Despite the clear recommendations from Developmental Associates

regarding large social events, and the Consultants’ Report’s clear warning that “adults”

and “police” – not students – are best equipped to oversee and manage student-hosted

events, the Event Management Protocol Committee of the Task Force expressly declined

to implement the event management recommendations from the Williams-Moss Report.




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       76.     In declining to follow the Consultants’ Report recommendations, the

Committee announced that it “believed that pursuing the recommendations in the

Consultants’ Report would increase law enforcement staff and use of undesired crowd

control techniques at student-sponsored events. It was determined that this approach

would not ease tension or reduce concerns in the community.”

       77.     Instead of following Developmental Associates’ recommendation to

equalize levels of policing and security at all student events – which would have required

WFU to increase spending on policing and security to ensure that events hosted by

primarily white student groups were policed as vigorously as events hosted by primarily

minority student groups – the Committee “chose to pursue new event management

strategies that targeted issues unique to each campus event and venue.”

       78.     Pursuant to these new event management strategies, WFU “increased

partnership and role for students in the management of the events they sponsor,” hired

“students to support management of events,” and “reduced law enforcement staffing at

large event venues.”

       79.     As a result of this process, Wake Forest knowingly, deliberately, and

purposely reduced the presence of trained law enforcement and security staff at its largest

student events, including events at The Barn.

       80.     In short, rather than invest in equal policing for all student events, as was

recommended by its paid, and deeply experienced, consultants, Wake Forest dramatically

increased the responsibility of students – the very population WFU’s consultants warned



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were not properly equipped to police and manage those events – for policing and

providing security at their own events. At the same time, WFU dramatically reduced the

involvement and presence of trained law enforcement personnel at student events.

       81.     WFU’s decision to replace trained law enforcement personnel with students

and third-party event staff had particularly dramatic consequences for the safety and

security of student-sponsored events at The Barn, which WFU knew had been the site of

prior incidents requiring high levels of law enforcement intervention, including

altercations among attendees, and presented unique circumstances and challenges

requiring a certain level of police presence and security.

       82.     Although Wake Forest purported to craft event management strategies

“targeting issues unique to each campus event/venue,” it ignored or disregarded the

“unique” circumstances at The Barn that justified, at a minimum, maintenance of the

prior levels of security.

       83.     Instead, Wake Forest dramatically reduced the requirements for security at

all student events, including those held at The Barn.

       84.     Wake Forest also replaced its paper-ticket system with a new online

ticketing procedure using a website called “Eventbrite,” which the Task Force touted as a

way “to improve management of facility capacity, financial record-keeping, and payment

of the North Carolina entertainment tax,” and to reduce “the amount of time required for

an attendee to enter” an event at The Barn.




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         85.     In reality, the reduced time to enter The Barn was not due solely to the use

of Eventbrite, but also to a substantial decrease in the number of required security

checkpoints attendees were required to pass through before gaining admission to the

venue.

         86.     Before Wake Forest revised its event management guidelines, The Barn

required three separate checkpoints—one to verify student identification, one to check

tickets, and one to provide wristbands to students over 21, a process, upon information

and belief, that required checking each attendee’s identification a second time. Under the

new event management guidelines, by contrast, students were able to enter an event at

The Barn after passing through only one security checkpoint at the campus gates used to

verify student identification.

         87.     In addition, as part of its deliberate effort to reduce the presence of law

enforcement officers from WFUPD and WSPD at large events at The Barn, Wake Forest

created an “Event Resource Managers” program. Through that program, event

management and security responsibilities for student-sponsored events at The Barn were

turned over, in substantial part, to Wake Forest students themselves. WFU publicly

announced that an express aim of the “Event Resource Managers” program was to

“increase student involvement and reduce law enforcement in the management of

student-sponsored events.”




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       88.     According to public statements by WFU, the use of student Event Resource

Managers not only “changed the dynamic of student-sponsored events held at the Barn,”

but also “significantly reduced the cost of holding events in that facility.”

       89.     In an assessment of WFU’s deliberate decision to reduce the presence of

trained law enforcement personnel at student-sponsored events at The Barn, and to

entrust WFU students with significant responsibility for the oversight, management, and

security of events at The Barn, the Task Force highlighted a side-by-side comparison of

two similar events held at The Barn—one before and one after WFU’s implementation of

the new policies and practices for large student-sponsored events.

       90.     The first event—a National Pan-Hellenic Council event hosted by Kappa

Kappa Psi in September 2014—relied on the old paper-ticket method and included three

security checkpoints before students or guests could enter the event. If an attendee left

the event for any reason, he or she was not permitted to re-enter. The September 2014

event included a security presence of three WFUPD officers, six WSPD officers, and

seven event staff provided by Defendant Rhino Sports, a private contractor, for a total of

16 security and/or event management personnel, nine of whom were trained law

enforcement officers. Security and event management services for that event cost

$2,600.00.

       91.     The second event—also a National Pan-Hellenic Council event hosted by

Kappa Kappa Psi in January 2015—implemented the new Eventbrite ticketing system

and event management protocol. The event had only one security checkpoint, and



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attendees were allowed to leave and re-enter the event at any time using the new online

ticketing system. There also was a dramatically reduced security presence at the event.

In contrast to the nine trained law enforcement officers at the September 2014 event, the

January 2015 event was supervised and managed by only one WFUPD officer, along

with five outsourced Rhino event staff, and five student Event Resource Managers.

Security and event management services for that event cost $840.00, a reduction of more

than two-thirds from what was spent on the September 2014 event.

       92.     The Task Force was so impressed by the financial benefits to Wake Forest

of these changes, it recommended that Wake Forest expand the Event Resource Manager

program in its push toward “greater student-ownership for management of their events.”

       93.     In or around 2017, WFU promoted WFUPD Corporal James Gravely to

Special Events Sergeant. In that supervisory role within WFUPD, Special Events

Sergeant Gravely was in charge of coordinating student-sponsored events and security

personnel at those events, and was expected to collaborate regularly with the Office of

Student Engagement, the Event Resource Managers, and student organizations “to reduce

risk and ensure event safety.”

       94.     Although Sergeant Gravely had openly expressed his concerns about

reducing the presence of trained police officers at student-sponsored events at The Barn

during the November 2014 Trust Talk, and therefore knew or should have known that

WFU’s revised event management protocol would make events at The Barn and other

large-event venues at WFU significantly less safe for attendees, particularly when



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altercations among attendees broke out, that revised protocol remained in effect when

Najee arrived on Wake Forest’s campus on January 19, 2018, for a student-sponsored

event at The Barn.

                           The Events of January 19–20, 2018

       95.     On January 19, 2018, the Pi Omicron Chapter of Delta Sigma Theta, a

historically black sorority and member of the National Pan-Hellenic Council, hosted a

WFU-approved student-sponsored event at The Barn.

       96.     Under Wake Forest’s event management policies, as hosts of the party,

members of the Pi Omicron Chapter expressly agreed to be responsible for managing and

overseeing the event, including monitoring who was allowed into the event and assessing

the need for adequate security.

       97.     The event, a kick-off to the new semester, was called Level 1913 and

referred to the year that Delta Sigma Theta was founded.

       98.     Tickets to Level 1913 were $7 in advance and $10 at the door, and the

event began at 10:00 p.m. – when WFU’s enhanced, after hours campus security

procedures were supposed to be in effect – and was scheduled to continue until 2:00 a.m.

       99.     The Eventbrite registration page for the event required attendees to

“[p]lease bring a valid student ID.”

       100.    Guests at the party purportedly were required to show a ticket to enter the

party and purportedly were required to show a valid student ID to enter WFU’s campus.




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       101.    Consistent with WFU’s revised event managements policies, there was only

one security checkpoint in place for the event at the entrance to WFU’s campus, and none

of the attendees had to pass through metal detectors or subject themselves or their

vehicles to checks, inspections, or other security measures before they were allowed to

enter the party or park their vehicles in the parking lots closest to The Barn.

       102.    In comparison, attendees at large events sponsored by college students at

other venues in Winston-Salem during the same period often had to pass through metal

detectors or go through pat-downs before they were allowed to enter the events.

       103.    The level of security personnel at the event, consistent with WFU’s revised

event management policies, was limited to one WFUPD officer – John Doe Officer of the

Wake Forest University Police Department – and a handful of security and event

management staff employed by Defendant Rhino Sports, which contracted with Wake

Forest to provide private security and event management services at The Barn. No

WSPD officers were present at the event.

       104.    According to public statements by Wake Forest, at least 475 people

attended the event.

       105.    Najee and other members of the WSSU football team were among the

attendees.

       106.    Jakier Shanique Austin, Malik Patience Smith, and another companion also

attended the event, although none of the three were students at Wake Forest, WSSU, or

any other area school, and therefore under WFU’s event management guidelines should



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not have been permitted to enter the Wake Forest campus, The Barn, the parking lots

closest to The Barn, or the party on January 19, 2018.

       107.    Despite this, on January 19, 2018, John Doe Security Staff of the Wake

Forest University Police Department and members of Pi Omicron assigned to the Wake

Forest gatehouse at the University Parkway entrance to the Wake Forest campus

permitted Austin, Smith, and their companion to enter the campus, who proceeded to

drive to, and park at, the parking lots closest to The Barn.

       108.    Members of Pi Omicron then sold three tickets to Austin at the door of the

event. He gave the two extra tickets to Smith and their other companion.

       109.    Smith had been previously arrested twice. Smith was first arrested and

criminally charged for carrying a concealed weapon and possessing a stolen firearm. In

October 2017, Smith was arrested a second time and criminally charged for gun

possession and possession of heroin with intent to sell. On the night on January 19, 2018,

Smith was out on bond for his two prior arrests.

       110.    Sometime after 12:00 a.m., Austin, Smith, and the companion started an

altercation with Najee inside The Barn. Najee defended himself, and the fight spilled

toward the back of The Barn. The fight and commotion it sparked was widespread and

dangerous.

       111.    John Doe Officer of the Wake Forest University Police Department and/or

John Doe Rhino Security Staff 1–2 intervened to break up the fight, but there were not

enough law enforcement or security personnel present to properly control the situation



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and maintain order. To make matters worse, the personnel who intervened were

inadequately trained, and they failed to exercise reasonable care in breaking up the fight

to reduce the foreseeable risk of harm to Najee and the other attendees at the event.

       112.   John Doe Officer of the Wake Forest University Police Department and/or

John Doe Rhino Security Staff 1–2 failed, inter alia, to detain Austin or Smith, escort

them from The Barn and away from the area, secure and control The Barn and the

roadway leading from The Barn to WFU’s nearby parking lots, or otherwise reasonably

protect Najee – who had been threatened and assaulted by Austin and Smith – and the

other students as they left The Barn. As a result, Austin and Smith were able to go

directly to their car in the parking lot and retrieve their guns.

       113.   After the DJ announced the party was over, Najee and others left The Barn

and headed down the only road from The Barn to the parking lots where their cars were

parked.

       114.   Smith and Austin, with weapons drawn, confronted Najee and another

student as they were walking down the road

       115.   Smith used his gun to hold back the other student, while Austin shot Najee,

fatally, in the stomach.

       116.   The shooting occurred at approximately 1:01 a.m.

       117.   Najee fell to the ground, bleeding and in excruciating pain. He was

pronounced dead at the Wake Forest Baptist Medical Center at approximately 1:55 a.m.

on January 20, 2018. The identified cause of death was a gunshot wound to his abdomen.



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       118.   Due to the lax security at the event, both Smith and Austin were able to flee

the scene and WFU’s campus after the shooting. Although an arrest warrant for Austin

issued shortly after the shooting, he was not arrested in connection with Najee’s murder

until April 2018.

                                     COUNT I
                 Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
                          Against Wake Forest University
                                (Negligent Conduct)

       119.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       120.   This claim is brought against Wake Forest, and is brought pursuant to N.C.

Gen. Stat. 28A-18-2.

       121.   Wake Forest knew, or in the exercise of reasonable care should have

known, that a substantial, well-trained law enforcement and security presence at student-

sponsored events at The Barn was necessary to ensure the safety and well-being of

attendees, including to control and defuse altercations among attendees, and to protect

attendees from the criminal acts of third parties.

       122.   Wake Forest also knew, or in the exercise of reasonable care should have

known, that students were not capable of responsibly, safely, or adequately managing or

policing their own large, student-sponsored events.

       123.   Despite such knowledge, Wake Forest permitted and authorized the Pi

Omicron Chapter of Delta Sigma Theta Sorority, Inc., to host the party at The Barn on

January 19–20, 2018.

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      124.   Wake Forest, individually and through its agents, including WFUPD,

WFUPD officers and security staff, private security staff with whom Wake Forest

contracted, and student Event Resource Managers, undertook to provide security and

event management oversight for the party at The Barn on January 19–20, 2018.

      125.   Wake Forest accordingly owed a duty to the party attendees, including

Najee, to exercise reasonable care in: supervising and training the members of the Pi

Omicron Chapter of Delta Sigma Theta Sorority in managing and policing the January

19–20, 2018, party; ensuring there was an adequate and adequately trained law

enforcement, security, and event management presence at the party; selecting law

enforcement, security, and event management personnel for the party; ensuring that the

law enforcement, security, and event management personnel selected to work the party

were adequately trained; and providing adequate security for the party.

      126.   Wake Forest breached those duties, and was negligent, by:

             a.     failing to provide adequate security for the January 19–20, 2018,

                    party at The Barn, a venue that Wake Forest knew had a history of

                    altercations among and between attendees requiring high levels of

                    law enforcement intervention, and presented unique circumstances

                    and challenges requiring significant police presence and security;

             b.     knowingly, deliberately, and purposely reducing the number of

                    trained law enforcement and security personnel at student-sponsored

                    events at The Barn, including for the party on January 19–20, 2018;



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  c.    establishing and adopting inadequate security policies and practices

        for student-sponsored events at The Barn, which WFU knew or

        should have known were inadequate under the circumstances;

  d.    failing to adequately train WFUPD officers, private security staff

        with whom Wake Forest contracted, and student Event Resource

        Managers in event management and/or event-security procedures,

        practices, and techniques for events at The Barn, including failing to

        provide them training in how to respond adequately and

        appropriately to altercations between and among attendees;

  e.    failing to put reasonable safeguards, restrictions, and controls in

        place at the January 19–20, 2018, event to prevent, reduce the

        likelihood of, and/or minimize the risk of harm from foreseeable

        altercations and physical violence among attendees at the event;

  f.    failing to adequately train members of the Pi Omicron Chapter of

        Delta Sigma Theta in event management or event security, while

        entrusting those same members with responsibility for providing

        event management and event security for the January 19–20, 2018,

        party;

  g.    knowingly, purposely, and deliberately entrusting untrained and/or

        inadequately trained student members of the Pi Omicron Chapter of

        Delta Sigma Theta with significant responsibilities for managing and



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        providing security at the event at The Barn on January 19–20, 2018,

        in lieu of trained law enforcement officers, despite previous

        warnings from its consultants that students were not properly

        equipped to police and manage events at large venues, like The

        Barn;

  h.    knowingly, purposely, and deliberately entrusting undergraduate and

        graduate students employed as Event Resource Managers with

        significant responsibilities for providing and managing security at

        The Barn on January 19–20, 2018, in lieu of trained law enforcement

        officers, despite warnings from its consultants that students were not

        properly equipped to police and manage events at large venues, like

        The Barn;

  i.    failing to provide effective and adequate supervision over the Event

        Resource Managers and student members of the Pi Omicron Chapter

        of Delta Sigma Theta during the party at The Barn on January 19–

        20, 2018;

  j.    permitting Austin and Smith to enter WFU’s campus after hours,

        The Barn, The Barn’s parking lot, and the January 19–20, 2018 party

        without valid student IDs, and armed with deadly weapons, in

        violation of WFU policy; and

  k.    was otherwise negligent.



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       127.   As a direct and proximate result of Wake Forest’s negligence, Najee was

shot, experienced conscious pain and suffering, and died.

       128.   As a direct and proximate result of Wake Forest’s negligence, Najee died

and his beneficiaries suffered, and will suffer in the future, damages including, but not

limited to, loss of society, companionship, comfort, guidance, kindly offices and advice

of Najee.

       129.   As a further direct and proximate result of Wake Forest’s negligence,

Najee’s beneficiaries have suffered damages arising out of the loss of reasonably

expected net income of Najee, and have incurred expenses for care, treatment, and

hospitalization incident to the injury resulting in Najee’s death and reasonable funeral and

burial expenses.

                                      COUNT II
                   Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
                            Against Wake Forest University
                                  (Gross Negligence)

       130.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       131.   This claim is brought against Wake Forest, and is brought pursuant to N.C.

Gen. Stat. 28A-18-2.

       132.   Wake Forest knew that a substantial, well-trained law enforcement and

security presence at student-sponsored events at The Barn was necessary to ensure the

safety and well-being of attendees, including to control and defuse altercations among

attendees, and to protect attendees from the criminal acts of third parties.

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      133.   Wake Forest also knew that students were not capable of responsibly,

safely, or adequately managing or policing their own large, student-sponsored events.

      134.   Despite such knowledge, Wake Forest permitted and authorized the Pi

Omicron Chapter of Delta Sigma Theta Sorority, Inc., to host the party at The Barn on

January 19–20, 2018.

      135.   Wake Forest, individually and through its agents, including WFUPD,

WFUPD officers and security staff, private security staff with whom Wake Forest

contracted, and student Event Resource Managers, undertook to provide security and

event management oversight for the party at The Barn on January 19–20, 2018.

      136.   Wake Forest accordingly owed a duty to the party attendees, including

Najee, to exercise reasonable care in: supervising and training the members of the Pi

Omicron Chapter of Delta Sigma Theta Sorority in managing and policing the January

19–20, 2018, party; ensuring there was an adequate and adequately trained law

enforcement, security, and event management presence at the party; selecting law

enforcement, security, and event management personnel for the party; ensuring that the

law enforcement, security, and event management personnel selected to work the party

were adequately trained; and providing adequate security for the party.

      137.   In conscious and/or reckless disregard of, and indifference to, the rights and

safety of the attendees at the January 19–20, 2018 party at The Barn, Wake Forest

breached those duties, and was grossly negligent, by:




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  a.    knowingly, deliberately, purposely, needlessly, and recklessly failing

        to provide adequate security for the January 19–20, 2018, party at

        The Barn, a venue that Wake Forest knew and had been warned and

        advised had a history of altercations among and between attendees

        requiring high levels of law enforcement intervention, and presented

        unique circumstances and challenges requiring a certain level of

        police presence and security;

  b.    knowingly, deliberately, purposely, needlessly, and recklessly

        reducing the number of trained law enforcement and security

        personnel at student-sponsored events at The Barn, including for the

        party on January 19–20, 2018;

  c.    knowingly, deliberately, purposely, needlessly, and recklessly

        establishing and adopting security policies and practices for student-

        sponsored events at large-event venues on campus, including The

        Barn, which WFU knew and had been warned were inadequate

        under the circumstances;

  d.    knowingly, deliberately, purposely, needlessly, and recklessly

        electing not to put safeguards, restrictions, and controls in place at

        the January 19–20, 2018, event that would have prevented, reduced

        the likelihood of, and/or minimized the risk of harm from




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        foreseeable altercations and physical violence among attendees at

        the event;

  e.    knowingly, deliberately, purposely, needlessly, and recklessly

        entrusting untrained and/or inadequately trained student members of

        the Pi Omicron Chapter of Delta Sigma Theta with significant

        responsibilities for managing and providing security at the event at

        The Barn on January 19–20, 2018, in lieu of trained law enforcement

        officers, despite previous warnings from it consultants that students

        were not properly equipped to police and manage events at large

        venues, like The Barn;

  f.    knowingly, deliberately, purposely, needlessly, and recklessly

        entrusting undergraduate and graduate students employed as Event

        Resource Managers with significant responsibilities for providing

        and managing security at The Barn on January 19–20, 2018, in lieu

        of trained law enforcement officers, despite warnings from its

        consultants that students were not properly equipped to police and

        manage events at large venues, like The Barn;

  g.    knowingly, deliberately, purposely, needlessly, and recklessly failing

        to provide effective and adequate supervision over the Event

        Resource Managers and student members of the Pi Omicron Chapter

        of Delta Sigma Theta during the party at The Barn on January 19–



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                      20, 2018, despite warnings from its consultants that students were

                      not properly equipped to police and manage events at large venues,

                      like The Barn, and that adults, not students, were best equipped to

                      oversee and manage student-hosted events; and

              h.      was otherwise grossly negligent.

       138.   As a direct and proximate result of Wake Forest’s gross negligence, Najee

was shot, experienced conscious pain and suffering, and died.

       139.   As a direct and proximate result of Wake Forest’s gross negligence, Najee

died and his beneficiaries suffered, and will suffer in the future, damages including, but

not limited to, loss of society, companionship, comfort, guidance, kindly offices and

advice of Najee.

       140.   As a further direct and proximate result of Wake Forest’s gross negligence,

Najee’s beneficiaries have suffered damages arising out of the loss of reasonably

expected net income of Najee, and have incurred expenses for care, treatment, and

hospitalization incident to the injury resulting in Najee’s death and reasonable funeral and

burial expenses.

                                    COUNT III
                Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
            Against the Pi Omicron Chapter of Delta Sigma Theta Sorority
                                (Negligent Conduct)

       141.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.




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       142.   This claim is brought against the Pi Omicron Chapter of Delta Sigma

Theta, and is brought pursuant to N.C. Gen. Stat. 28A-18-2.

       143.   The Pi Omicron promoted and widely advertised on social meeting the

party it was hosting at The Barn on January 19–20, 2018, and charged admission to, and

generated revenue from, that party.

       144.   The Pi Omicron Chapter, individually and through its officers and

members, undertook and expressly agreed to undertake significant responsibilities in

providing security and event management at the event it hosted at The Barn on January

19–20, 2018, including, inter alia, responsibilities for assisting WFUPD in determining

who was authorized to enter the Wake Forest campus for purposes of the event; checking

the identification of each guest seeking entry to the event; monitoring the size of the

event; preventing uninvited and unauthorized guests from attending the event; helping to

“maintain order and ensure responsible behavior”; and consulting with Event Resource

Managers and WFUPD officials, “as necessary.”

       145.   Through these agreements and undertakings, the Pi Omicron Chapter

assumed, undertook, and owed a duty to the attendees of the party, including Najee, to

provide reasonable and adequate security at the event at The Barn on January 19–20,

2018, and to exercise reasonable care in providing that security.

       146.   The Pi Omicron Chapter knew, or in the exercise of reasonable care should

have known, that the provision of reasonable and adequate security at The Barn on




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January 19–20, 2018, was necessary to ensure the safety and well-being of the attendees,

including to protect them from the criminal acts of third parties.

       147.   The Pi Omicron Chapter breached its duty, and was negligent, by:

              a.     failing to provide reasonable and adequate security at the January

                     19–20, 2018, event held at The Barn, a large-event venue with a

                     history of altercations requiring law enforcement intervention;

              b.     failing to put reasonable safeguards, restrictions, and controls in

                     place at the January 19–20, 2018, event at The Barn to prevent

                     and/or reduce the likelihood of foreseeable altercations and physical

                     violence among attendees at the event;

              c.     entrusting its own inadequately trained or untrained student-

                     members and officers with providing and managing security at the

                     January 19–20, 2018, event;

              d.     permitting Austin and Smith to purchase tickets to and attend the

                     January 19–20, 2018, event and enter WFU’s campus after hours,

                     The Barn, and The Barn’s parking lot without valid student IDs,

                     without proper confirmation that they were registered attendees for

                     the January 19-20, 2018, party, and armed with deadly weapons, in

                     violation of WFU policy; and

              e.     was otherwise negligent.




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       148.   As a direct and proximate result of Pi Omicron’s negligence, Najee was

shot, experienced conscious pain and suffering, and died.

       149.   As a direct and proximate result of Pi Omicron’s negligence, Najee died

and his beneficiaries suffered, and will suffer in the future, damages including, but not

limited to, loss of society, companionship, comfort, guidance, kindly offices and advice

of Najee.

       150.   As a further direct and proximate result of Pi Omicron’s negligence,

Najee’s beneficiaries have suffered damages arising out of the loss of reasonably

expected net income of Najee, and have incurred expenses for care, treatment, and

hospitalization incident to the injury resulting in Najee’s death and reasonable funeral and

burial expenses.

                                      COUNT IV
                   Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
                    Against Rhino Sports & Entertainment Services
                                  (Negligent Conduct)

       151.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       152.   This claim is brought against Rhino Sports & Entertainment, and is brought

pursuant to N.C. Gen. Stat. 28A-18-2.

       153.   Rhino Sports & Entertainment agreed, undertook, assumed, and owed a

duty to exercise due care to adequately and properly train, oversee, and supervise its

employees in event management and security practices and procedures, including by




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contracting with WFU to provide security and event management services at The Barn on

January 19–20, 2018.

       154.   Through these agreements and undertakings, Rhino Sports & Entertainment

assumed, undertook, and owed a duty to the attendees of the party, including Najee, to

provide reasonable and adequate security at the event at The Barn on January 19–20,

2018, and to exercise reasonable care in providing that security.

       155.   Rhino Sports & Entertainment knew, or in the exercise of reasonable care

should have known, that the provision of reasonable and adequate security at The Barn

on January 19–20, 2018, was necessary to ensure the safety and well-being of the

attendees, including to protect them from the criminal acts of third parties.

       156.   Rhino Sports & Entertainment breached its duty, and was negligent, by:

              a.     failing to adequately train its employees in event management and

                     security practices and procedures for large-venue events like the

                     January 19–20, 2018, event at The Barn;

              b.     failing to properly oversee, manage, and supervise the employees it

                     selected and assigned to provide event management services at The

                     Barn on January 19–20, 2018; and

              c.     was otherwise negligent.

       157.   As a direct and proximate result of Rhino’s negligence, Najee was shot,

experienced conscious pain and suffering, and died.




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       158.   As a direct and proximate result of Rhino’s negligence, Najee died and his

beneficiaries suffered, and will suffer in the future, damages including, but not limited to,

loss of society, companionship, comfort, guidance, kindly offices and advice of Najee.

       159.   As a further direct and proximate result of Rhino’s negligence, Najee’s

beneficiaries have suffered damages arising out of the loss of reasonably expected net

income of Najee, and have incurred expenses for care, treatment, and hospitalization

incident to the injury resulting in Najee’s death and reasonable funeral and burial

expenses.

                                     COUNT V
               Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
     Against John Doe Officer of the Wake Forest University Police Department
                               (Negligent Conduct)

       160.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       161.   This claim is brought against John Doe Officer of Wake Forest University

Police Department, and is brought pursuant to N.C. Gen. Stat. 28A-18-2.

       162.   At all relevant times, John Doe Officer was employed by Wake Forest

University and selected and assigned to provide law enforcement oversight and security

for the event at The Barn on January 19–20, 2018.

       163.   John Doe Officer undertook, assumed, and owed a general duty to

attendees at the January 19–20, 2018, event, including Najee, to exercise reasonable care

in overseeing, managing, and providing law enforcement oversight and security for the

event, and to otherwise discharge his duties as a law enforcement personnel hired to

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provide law enforcement oversight and security at the event in a reasonable manner.

John Doe Officer also undertook and assumed duties to the attendees of the event

including, specifically, Najee, when he intervened in the altercation involving Austin,

Smith and Najee in The Barn.

       164.   John Doe Officer breached those duties, and was negligent, by:

              a.     failing to properly and adequately detain and/or remove Austin or

                     Smith from the party and WFU’s campus after their altercation with

                     Najee, failing to check their IDs to confirm they were permitted at

                     the party, and/or failing to otherwise effectively control the situation;

                     and

              b.     was otherwise negligent.

       165.   As a direct and proximate result of John Doe Officer’s negligence, Najee

was shot, experienced conscious pain and suffering, and died.

       166.   As a direct and proximate result of John Doe Officer’s negligence, Najee

died and his beneficiaries suffered, and will suffer in the future, damages including, but

not limited to, loss of society, companionship, comfort, guidance, kindly offices and

advice of Najee.

       167.   As a further direct and proximate result of John Doe Officer’s negligence,

Najee’s beneficiaries have suffered damages arising out of the loss of reasonably

expected net income of Najee, and have incurred expenses for care, treatment, and




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hospitalization incident to the injury resulting in Najee’s death and reasonable funeral and

burial expenses.

                                    COUNT VI
              Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
 Against John Doe Security Staff of the Wake Forest University Police Department
                               (Negligent Conduct)

       168.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       169.   This claim is brought against John Doe Security Staff of Wake Forest

University Police Department, and is brought pursuant to N.C. Gen. Stat. 28A-18-2.

       170.   At all relevant times, John Doe Security Staff was employed by Wake

Forest University and selected and assigned to provide campus security on January 19–

20, 2018, including but not limited to, to staff the gatehouse at the University Parkway

entrance to the Wake Forest Campus, and to monitor, verify, and vet visitors attempting

to enter the campus through that entrance after 10 p.m. on January 19, 2018, for the

January 19, 2018, event at The Barn.

       171.   John Doe Security Staff undertook, assumed, and owed a general duty to

attendees at the January 19–20, 2018, event, including Najee, to exercise reasonable care

in staffing the gatehouse and monitoring, verifying, and vetting visitors permitted to enter

the Wake Forest campus for the January 19–20, 2018, event.

       172.   John Doe Security Staff breached those duties, and was negligent, by:

              a.      permitting Austin and Smith to enter WFU’s campus after hours,

                      The Barn, The Barn’s parking lot, and the January 19–20, 2018,

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                      party without valid student IDs, without proper confirmation that

                      they were registered attendees for the January 19–20, 2018, party,

                      and armed with deadly weapons, in violation of WFU policy; and

              b.      was otherwise negligent.

       173.   As a direct and proximate result of John Doe Security Staff’s negligence,

Najee was shot, experienced conscious pain and suffering, and died.

       174.   As a direct and proximate result of John Doe Security Staff’s negligence,

Najee died and his beneficiaries suffered, and will suffer in the future, damages

including, but not limited to, loss of society, companionship, comfort, guidance, kindly

offices and advice of Najee.

       175.   As a further direct and proximate result of John Doe Officer’s negligence,

Najee’s beneficiaries have suffered damages arising out of the loss of reasonably

expected net income of Najee, and have incurred expenses for care, treatment, and

hospitalization incident to the injury resulting in Najee’s death and reasonable funeral and

burial expenses.

                                     COUNT VII
                   Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
                     Against John Doe Rhino Security Staff 1 and 2
                                  (Negligent Conduct)

       176.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       177.   This claim is brought against John Doe Rhino Security Staff 1 and John

Doe Rhino Security Staff 2, and is brought pursuant to N.C. Gen. Stat. 28A-18-2.

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       178.   At all relevant times, John Doe Rhino Security Staff 1 and 2 were

employed by Defendant Rhino Sports and selected and assigned to provide security and

event management services for the event at The Barn on January 19–20, 2018.

       179.   John Doe Rhino Security Staff 1 and 2 undertook, assumed, and owed a

general duty to attendees at the January 19–20, 2018, event, including Najee, to exercise

reasonable care in overseeing, managing, and providing security for the event, and to

otherwise discharge their duties as hired event management staff in a reasonable manner.

John Doe Rhino Security Staff 1 and 2 also undertook and assumed duties to the

attendees of the event including, specifically, Najee, when they intervened in the

altercation involving Austin, Smith, and Najee in The Barn.

       180.   John Doe Rhino Security Staff 1 and John Doe Rhino Security Staff 2 each

breached those duties, and were negligent, by:

              a.     permitting Austin and Smith to enter WFU’s campus after hours,

                     The Barn, The Barn’s parking lot, and the January 19–20, 2018,

                     party without valid student IDs, without proper confirmation that

                     they were registered attendees for the January 19–20, 2018, party,

                     and armed with deadly weapons, in violation of WFU policy;

              b.     failing to properly and adequately detain and/or remove Austin or

                     Smith from the party and WFU’s campus after their altercation with

                     Najee, failing to check their IDs to confirm they were permitted at




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                      the party, and/or failing to otherwise effectively control the situation;

                      and

              c.      were otherwise negligent.

       181.   As a direct and proximate result of John Doe Rhino Security Staff 1 and

John Doe Rhino Security Staff 2’s negligence, Najee was shot, experienced conscious

pain and suffering, and died.

       182.   As a direct and proximate result of John Doe Rhino Security Staff 1 and

John Doe Rhino Security Staff 2’s negligence, Najee died and his beneficiaries suffered,

and will suffer in the future, damages including, but not limited to, loss of society,

companionship, comfort, guidance, kindly offices and advice of Najee.

       183.   As a further direct and proximate result of John Doe Rhino Security Staff 1

and John Doe Rhino Security Staff 2’s negligence, Najee’s beneficiaries have suffered

damages arising out of the loss of reasonably expected net income of Najee, and have

incurred expenses for care, treatment, and hospitalization incident to the injury resulting

in Najee’s death and reasonable funeral and burial expenses.

                                    COUNT VIII
                   Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
                                 Against Wake Forest
                       (Respondeat Superior/Vicarious Liability)

       184.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       185.   Pursuant to the doctrine of respondeat superior or vicarious liability,

because John Doe Officer, John Doe Security Staff, John Doe Rhino Security Staff 1, and

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John Doe Rhino Security Staff 2, with whom Wake Forest had contracted to provide

security at the event at The Barn on January 19–20, 2018, and the Event Resource

Managers were acting as Wake Forest’s agents and within the scope of their agency at all

relevant times, and/or because Wake Forest ratified the actions of the John Doe Officer,

John Doe Security Staff, John Doe Rhino Security Staff 1 and 2, and the Event Resource

Managers, Wake Forest is vicariously liable for all damages caused by its agents.

       186.   For such injuries proximately resulting from the conduct of John Doe

Officer, John Doe Security Staff, John Doe Rhino Security Staff 1 and 2, and the Event

Resource Managers, as described and fully set forth herein, Wake Forest is vicariously

liable to the Estate of Najee Ali Baker.

                                   COUNT IX
                 Wrongful Death Pursuant to N.C. Gen Stat. 28A-18-2
                  Against Rhino Sports & Entertainment Services
                     (Respondeat Superior/Vicarious Liability)

       187.   The allegations of the preceding paragraphs are re-alleged and incorporated

by reference as if fully set forth herein.

       188.   Pursuant to the doctrine of respondeat superior or vicarious liability,

because John Doe Rhino Security Staff 1 and John Doe Rhino Security Staff 2 were

acting as Rhino Sports & Entertainment’s employees and agents within the scope of their

employment and agency at all relevant times, and/or because Rhino ratified the actions of

John Doe Rhino Security Staff 1 and 2, Rhino Sports & Entertainment is vicariously

liable for all damages caused by John Doe Rhino Security Staff 1 and 2.




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       189.   For such injuries proximately resulting from the conduct of John Doe

Rhino Security Staff 1 and 2, as described and fully set forth herein, Rhino is vicariously

liable to the Estate of Najee Ali Baker.

                                    JURY DEMAND

       Plaintiff demands trial by jury.

                                PRAYER FOR RELIEF

       Plaintiff, as Ancillary Administrator of the Estate of Najee Ali Baker, prays the

Court for judgment against the Defendants, jointly and severally, as follows: (1)

compensatory damages in excess of $75,000.00, exclusive of interests and costs; (2)

attorneys’ fees as allowed by law; (3) costs; (4) pre- and post-judgment interest; and (5)

such other further relief as the Court deems just and proper.

Dated: May 7, 2019                         Respectfully submitted,

                                           /s/ Jonathon N. Fazzola
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                                           (*appearing by special appearance)



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